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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

                                    :
ANNAMARIE DOE                       :
“last name uncertain,               :
649 others”                         :
                                    :
v.                                  :   CIV. NO. 3:12CV1474(WWE)
                                    :
ELECTORS FOR THE                    :
STATE OF CONNECTICUT                :
                                    :
                                    :

                              RECOMMENDED RULING

     Plaintiff Annamarie Doe brings this civil rights action

under 42 U.S.C. §1983     pro se and in forma pauperis against

defendants the Electors for the State of Connecticut alleging a

violation of the 14th Amendment, Section 3 to the United States

Constitution and 18 U.S.C. §241.1

1
18 U.S.C §241 states,
           If two or more persons conspire to injure,
           oppress, threaten, or intimidate any person
           in any State, Territory, Commonwealth,
           Possession, or District in the free exercise
           or enjoyment of any right or privilege
           secured to him by the Constitution or laws
           of the United States, or because of his
           having so exercised the same; or

           If two or more persons go in disguise on the
           highway, or on the premises of another, with
           intent to prevent or hinder his free
           exercise or enjoyment of any right or
           privilege so secured—

           They shall be fined under this title or
           imprisoned not more than ten years, or both;
           and if death results from the acts committed
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    STANDARD OF REVIEW

    Consideration of whether a pro se plaintiff should be

permitted to proceed under 28 U.S.C. §1915 is a two-step

process. The court must first determine whether the plaintiff

may proceed with the action without prepaying the filing fee in

full. 28 U.S.C. §1915(a). Second, section 1915 requires the

court to conduct an initial screening of the complaint to ensure

that the case goes forward only if it meets certain

requirements.   "[T]he court shall dismiss the case at any time

if the court determines that . . . the action . . . is frivolous

or malicious; . . . fails to state a claim on which relief may

be granted; or . . . seeks monetary relief against a defendant

who is immune from such relief."       28 U.S.C. §1915(e)(2)(B)(i) -

(iii).

          An action is "frivolous" when either: (1)
          "the ‘factual contentions are clearly
          baseless,’ such as when allegations are the
          product of delusion or fantasy;" or (2) "the
          claim is ‘based on an indisputably meritless
          legal theory.’" Nance v. Kelly, 912 F.2d
          605, 606 (2d Cir. 1990) (per curiam)
          (quoting Neitzke v. Williams, 490 U.S. 319,

          in violation of this section or if such acts
          include kidnapping or an attempt to kidnap,
          aggravated sexual abuse or an attempt to
          commit aggravated sexual abuse, or an
          attempt to kill, they shall be fined under
          this title or imprisoned for any term of
          years or for life, or both, or may be
          sentenced to death.


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          327, 109 S. Ct. 1827, 1833, 104 L. Ed. 2d
          338 (1989). A claim is based on an
          "indisputably meritless legal theory" when
          either the claim lacks an arguable basis in
          law, Benitez v. Wolff, 907 F.2d 1293, 1295
          (2d Cir. 1990) (per curiam), or a
          dispositive defense clearly exists on the
          face of the complaint. See Pino v. Ryan, 49
          F.3d 51, 53 (2d Cir. 1995).

Livingston v. Adirondack Beverage Co., 141 F.3d 434, 437 (2d

Cir. 1998).   The court construes pro se complaints liberally.

See Haines v. Kerner, 404 U.S. 519, 520 (1972).          Thus, "when an

in forma pauperis plaintiff raises a cognizable claim, his

complaint may not be dismissed sua sponte for frivolousness

under § 1915 (e)(2)(B)(i) even if the complaint fails to ‘flesh

out all the required details.’"        Livingston, 141 F.3d at 437

(quoting Benitez, 907 F.2d at 1295).        The court exercises

caution in dismissing a case under section 1915(e) because a

claim that the court perceives as likely to be unsuccessful is

not necessarily frivolous.     See Neitzke v. Williams, 490 U.S.

319, 329 (1989).

    In addition, "unless the court can rule out any

possibility, however unlikely it might be, that an amended

complaint would succeed in stating a claim," the court should

permit "a pro se plaintiff who is proceeding in forma pauperis"

to file an amended complaint that states a claim upon which




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relief may be granted.        Gomez v. USAA Federal Savings Bank, 171

F.3d 794, 796 (2d Cir. 1999).

      DISCUSSION

      Doe brings this action pursuant to §1983, which creates a

federal cause of action against any person who, under color of

state law, deprives a citizen or a person within the

jurisdiction of the United States of any right, privilege, or

immunity secured by the Constitution or laws of the United

States.   42 U.S.C. §1983. Plaintiff also brings this action on

behalf of approximately six hundred and thirty other persons

whose mental health cases were considered in the 12th Judicial

Circuit for Manatee County Florida Court and whose rights were

alledgedly violated by the State of Florida.1

Fourteenth Amendment Violation

      Plaintiff alleges, among other things, that President

Barack Obama “is bound by the Supremacy Clause of the

Constitution, namely to halt fundamental rights abuses, and

1
  Plaintiff filed a thirty page Complaint along with a twenty-seven page
exhibit. [Doc. #1]. On May 24, 2012 Circuit Judge Smith entered a Final
Judgment of Simplified Dissolution of Marriage in William Riethmiller v.
AnnaMarie Riethmiller, 09DR010430 (FL 12th Cir. Ct. May 24, 2012). It is this
order that plaintiff contends “is concrete evidence of extreme fundamental
individual and women’s rights violations prohibited by the Supremacy Clause
of the United States Constitution.” [Doc. #1-2]. She contends that President
Obama is an ineligible candidate for president because, among other things,
he failed to “immediately halt fundamental rights abuses protected by the
Supremacy Clause of the United States of America when be become (sic) aware
of such criminal and other abuses against the Petitioners by State and
Federal government officials exceeding their power or failing to exercise
their duties, and Obama failed to bring the victims of such fundamental
abuses to safety.” [Doc. #1-1 at 3, ¶25].
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Obama failed to do so even when he had full knowledge of the

harm.” [Doc. #1-1 at 3, ¶19]. Defendant is the “Electors for the

State of Connecticut, Secretary of State, c/o the Governor.” Id.

at 3. Plaintiff seeks “to have this court declare that Barack

Hussein Obama . . . is [in]eligible to be a candidate on the

ballot for the November 2012 Presidential Election and that the

Presidential Electors of this State be interdicted to vote for

him should he be on the November 2012 General Election or any

future ballot.” Id. at ¶21.

     In order to hold the defendant personally liable for a

constitutional violation pursuant to Section 1983, the plaintiff

must show that defendant was personally involved in the alleged

violation of her Fourteenth Amendment rights. See Back v.

Hastings on Hudson Union Free Sch. Dist., 365 F.3d 107, 122 (2d

Cir. 2004) (“in this Circuit personal involvement of defendants

in alleged constitutional deprivations is a prerequisite to an

award of damages under [Section] 1983”). Here, plaintiff does

not identify by name any defendant in the State of Connecticut

who caused plaintiff’s injuries. The Court finds that the

Fourteen Amendment claim must be dismissed because plaintiff

does not allege sufficient personal involvement by a defendant

to support a 14th Amendment claim under Section 1983.




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     Collateral Estoppel

     Plaintiff states that she filed related cases in the

“Office of the Circuit [E]xecutive Complaint 11-12-90202 and

Judicial Complaint No: DC12-90041, United States Supreme Court

11-5659, United States Supreme Court: 11-10350,” [doc. #1, at

11] and Tampa Middle District Court, 12th Judicial Circuit for

Manatee County Florida, Eleventh District Court of Appeal, and

the District of Columbia, Id. at ¶¶5, 8, alleging the same or

similar violations.

     The doctrine of collateral estoppel provides that, “[w]hen

an action between two parties terminates in a valid judgment, a

later action between the parties may be affected[,] [and

possibly barred,] even though it involves a different claim or

cause of action.”     Levy v. Kosher Overseers Ass’n of America,

Inc., 104 F.3d at 41 (2d Cir. 1997); see also Parklane Hosiery

Co., Inc. v. Shore, 439 U.S. 322, 326 (1979).

     In the Second Circuit, to apply the doctrine of collateral

estoppel to bar litigation of an issue, (1) the issue in both

proceedings must be identical, (2) the issue in the prior

proceeding must have been actually litigated and actually

decided, (3) there must have been a full and fair opportunity

for litigation in the prior proceeding, and (4) the issue

previously litigated must have been necessary to support a valid

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and final judgment on the merits.        Gelb v. Royal Globe Ins. Co.,

798 F.2d 28, 44 (2d Cir. 1986); see also Central Hudson Gas &

Elec. Corp. v. Empresa Naviera Santa S.A., 56 F.3d 359, 368 (2d

Cir. 1995).

    On the current record, the Court is unable to assess

whether this cause of action is barred by the doctrine of

collateral estoppel.

    For the foregoing reasons, this complaint lacks merit and

is clearly “frivolous” within the meaning of 28 U.S.C. §

1915(e)(2)(B)(I).   Despite the mandate to proceed with caution

and leniency when considering whether to dismiss a case under

section 1915(e), this case should be dismissed.

    CONCLUSION

    The Complaint [Doc. #1] is DISMISSED.           See 28 U.S.C.

§1915(e)(2)(i).

    Any objections to this recommended ruling must be filed

with the Clerk of the Court within fourteen (14) days of the

receipt of this order.       Failure to object with fourteen (14)

days may preclude appellate review.          See 28 U.S.C. § 636(b)(1);

Rules 72, 6(a) and 6(e) of the Federal Rules of Civil Procedure;

Rule 72.2 of the Local Rules for United States Magistrate

Judges; Small v. Secretary of H.H.S., 892 F. 2d 15 (2d Cir.




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1989)(per curiam); F.D.I.C. v. Hillcrest Assoc., 66 F. 3d 566,

569 (2d Cir. 1995).

    ENTERED at Bridgeport, this 31st day of October 2012.



                                 ______/s/________________
                                 HOLLY B. FITZSIMMONS
                                 UNITED STATES MAGISTRATE JUDGE




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